      Case 4:21-cv-03039 Document 5 Filed on 09/23/21 in TXSD Page 1 of 2
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                            UNITED STATES DISTRICT COURT                           September 23, 2021
                             SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

MICHAEL G. PETERS,                             §
                                               §
        Plaintiff,                             §
VS.                                            §      CIVIL ACTION NO. 4:21-CV-3039
                                               §
TEXAS DEPARTMENT OF CRIMINAL                   §
JUSTICE                                        §
and                                            §
DINAH HUFFMAN,                                 §
                                               §
        Defendants.                            §

                              MEMORANDUM AND ORDER

       Michael G. Peters, an inmate incarcerated in the Texas Department of Criminal Justice,

has filed a prisoner civil rights complaint and a motion for leave to proceed in forma pauperis.

This action is dismissed under 28 U.S.C. ' 1915(g).

       Barring a show of imminent danger, under the Prison Litigation Reform Act of 1995, a

prisoner may not file an action in forma pauperis if he has, on three or more occasions, filed a

prisoner action in federal district court or an appeal in a federal court of appeals that was

dismissed as frivolous or malicious. 28 U.S.C. ' 1915(g); Adepegba v. Hammons , 103 F.3d

383, 385 (5th Cir. 1996). Peters has accumulated at least 11 such dismissals. He is no longer

allowed to proceed in forma pauperis under section 1915(g). See Peters v. TDCJ, No. 4:21-cv-

2447 (S.D. Tex. July 29, 2021); Peters v. Texas Department of Criminal Justice, No. 3:21-cv-14

(S.D. Tex. Feb. 1, 2021); Peters v. Valigura, No. 4:15-cv-3032 (S.D. Tex. Oct. 26, 2016); Peters

v. Texas Medical Board, No. 4:15-cv-3021 (S.D. Tex. Oct. 30, 2015); Peters v. Rollins, No.

4:15-cv-3036 (S.D. Tex. Oct, 27, 2015); Peters v. Duckworth, No. 4:15-cv-3024 (S.D. Tex. Oct.

24, 2015); Peters v. Harrison, No. 4:15-cv-3037 (S.D. Tex. Oct, 19. 2015); Peters v. BB&T



1/2
      Case 4:21-cv-03039 Document 5 Filed on 09/23/21 in TXSD Page 2 of 2




Bank, No. 4:15-cv-3035 (S.D. Tex. Oct. 15, 2015); Peters v. Dreyer, No. 4:15-cv-289 (S.D. Tex.

Oct. 14, 2015); Peters v. Dreyer, No. 4:15-cv-2900 (S.D. Tex. Oct. 6, 2015); Peters v. Gilbert,

No. 4:15-cv-2762 (S.D. Tex. Oct. 1, 2015). Peters’ complaint does not allege that he is in any

imminent danger.

       In light of the pleadings and his litigation history, Peters has failed to show that he is

eligible to proceed in forma pauperis. This action is DISMISSED under 28 U.S.C. ' 1915(g),

and Peters’ motion for leave to proceed in forma pauperis (Doc. # 2) is DENIED. This dismissal

counts as a strike for purposes of 28 U.S.C. ' 1915(g).

       The Clerk is directed to provide a copy of this Memorandum and Order to the parties and

to the TDCJ - Office of the General Counsel, P.O. Box 13084, Austin, Texas 78711, Fax

Number    (512)    936-2159,    and    to   the   three   strikes   coordinator   for   this   district,

Three_Strikes@txs.uscourts.gov.

       It is so ORDERED.

       SIGNED on this 23rd day of September, 2021.


                                                  ___________________________________
                                                  Kenneth M. Hoyt
                                                  United States District Judge




2/2
